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Attorneys for Defendant Save On SP, LLC

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


                                                    Civil Action No. 2:22-cv-02632
   JOHNSON & JOHNSON HEALTH CARE                    (JKS)(CLW)
   SYSTEMS INC.,
                                                            Document electronically filed
                       Plaintiff,
   v.                                                       NOTICE OF MOTION
                                                     FOR ADMISSION PRO HAC VICE OF
   SAVE ON SP, LLC,                                    EMMA C. HOLLAND, HANNAH
                                                     MILES, MATTHEW NUSSBAUM, AND
                       Defendant.                           TAYLOR W. STONE.

 TO:    All Persons on ECF Service List

COUNSEL:

        PLEASE TAKE NOTICE that Defendant Save On SP, LLC, by and through its

undersigned counsel, shall move before the Honorable Cathy L. Waldor, U.S.M.J., on May 6, 2024

or as soon thereafter as counsel may be heard, at the Martin Luther King Building & U.S.

Courthouse, 50 Walnut Street, Newark, New Jersey 07101, for the entry of an order granting leave
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for Emma C. Holland, Hannah Miles, Matthew Nussbaum, and Taylor W. Stone, to appear in the

above-captioned matter pro hac vice on behalf of Defendant Save On SP, LLC. Plaintiff Johnson

& Johnson Health Care Systems, Inc. consents to this motion.

       PLEASE TAKE FURTHER NOTICE THAT in support of that motion, and pursuant to

Local Civil Rule 101.1(c), Defendant Save On SP, LLC shall rely upon the Certifications of

counsel being filed herewith. Defendant Save On SP, LLC respectfully submits pursuant to Local

Civil Rule 7.1(d)(4) that no brief in support of this motion is necessary, because the Certifications

being filed herewith plainly establish the requirements necessary for the pro hac vice admission of

the above counsel.

       PLEASE TAKE FURTHER NOTICE that a proposed order is submitted herewith.

Dated: March 28, 2024                                 By: /s/ E. Evans Wohlforth, Jr
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